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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

                                              :
MICHAEL PATRICK SIANOTM
                                              :
                                              :Document Filed Electronically
                    Plaintiff,
                                              :Civil Action No.: 3:20-cv-12827-MAS-DEA
          v.
                                              :
                                              :
M&T BANK,
                                              :
PARKER McCAY P.A. LAW OFFICES et al.
                                              :
and all Unknown Parties
                                              :
                                              :
                    Defendants.

                                 NOTICE OF APPEARANCE

       Kindly enter the appearance of James P. Berg, Esq. on behalf M&T Bank in the above-

captioned matter.


                                                Respectfully submitted,

Dated: October 20, 2020                         /s/ James P. Berg
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